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                        RECOMMENDATION TERMINATING
                      PROBATION PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           )
                                                   )
                             vs.                   )    Docket Number: 2:03CR00287-02
                                                   )
DERIL SCHMITT                                      )
                                                   )


LEGAL HISTORY:

On June 29, 2004, the above-named was placed on probation for a period of four years,
which commenced on June 29, 2004. Special conditions included a requirement for
search and seizure, financial disclosure, access to requested financial information, no new
credit charges or additional lines of credit without probation officer approval, and
participation in a Community Corrections Center for a period of nine months.


SUMMARY OF COMPLIANCE:

Deril Schmitt has complied with all conditions and special conditions of probation, and has
not been involved in any further criminal activities. It is the opinion of the probation officer
that he has derived maximum benefit from supervision and is not in need of continued
supervision.


RECOMMENDATION:

It is, therefore, respectfully recommended that probation in this case be terminated early.

                                   Respectfully submitted,


                                    /s/Glenn P. Simon
                                    GLENN P. SIMON
                              United States Probation Officer
                                                                                      Rev. 03/2005
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Re:      Deril SCHMITT
         Docket Number: 2:03CR00287-02
         RECOMMENDATION TERMINATING
         PROBATION PRIOR TO EXPIRATION DATE



Dated:           February 3, 2006
                 Sacramento, California
                 GPS/cp


REVIEWED BY:             /s/Kyriacos M. Simonidis
                         KYRIACOS M. SIMONIDIS
                         Supervising United States Probation Officer


cc:      AUSA (Pursuant to Rule 32, notice of proposed relief to the probationer is being provided. If no
         objection is received from you within 14 days, the probation officer's Recom m endation and
         Prob35-Order Term inating Probation Prior to Expiration Date, will be subm itted to the Court for
         approval.)




                                          ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the
proceedings in the case be terminated.

DATE: March 3, 2006




                                                   ___________________________________
                                                   MORRISON C. ENGLAND, JR
                                                   UNITED STATES DISTRICT JUDGE



Attachment: Recommendation
cc:   United States Attorney's Office




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